        Case 1:17-cv-00086-SPW Document 1 Filed 12/20/17 Page 1 of 1




                 UNITED STATES DISTRICT COURT
                      DISTRICT OF MONTANA
                        BILLINGS DIVISION
__________________________________________________________________

UNITED STATES OF AMERICA,                    JUDGMENT IN A CIVIL CASE

             Plaintiff/Respondent,            Case No. CV 17-86-BLG-SPW

vs.

NICHOLAS JOHN MONTANO,

             Defendant/Movant.

__________________________________________________________________

       Jury Verdict. This action came before the Court for a trial by jury. The
issues have been tried and the jury has rendered its verdict.

 X    Decision by Court. This action came before the Court for bench trial,
hearing, or determination on the record. A decision has been rendered.

      IT IS ORDERED AND ADJUDGED that judgment is entered in favor of the
United States and against Montano, and that this action is DISMISSED.

      Dated this 20th day of December, 2017.

                                TYLER P. GILMAN, CLERK

                                By: /s/ T. Gesh
                                T. Gesh, Deputy Clerk
